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?9;1?840 an glass am

WINTERS T(Tl E AGENCY,- lNG.
#'l Ormond Blvd`, Suile C
Laplace, LA 70068

 

m\an recorded mail bet
STBRDB.KD FEDERLL BB.NK
2600 w. 316 umwa RD.
Tnov, incumle 4)3034

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MORTGAGE

'I'HIS MORTGAGE("Sccurilylnsimmem")ls given on MARCH 18, 1999,

before mc, S'I`ELLA V . CHARLES
a Notary in and l”m' .IEFFERSDN Parish` boulsiana, and in the presence
of me undersigned wieness¢s, lay martinez simwa , a newman wm

l
(` ‘Bon~owcr’ '),

a person(s) of\hc full majority and a msidcm(s) of mps‘lrp.sou Pmish,
Loulslan::, whose permanem mailing address is cho Propcny Address stated below Borrower declared zmd
acknowledged that Bom>wer owes ~

STAHDRRD FEDERAL BMHI, 11 FEDERAL summers am »

a storpomllon organized and

existing undorll\clz\ws of cum umwa s:rn'ms op minimal
and whose permanent mailingacidrcs,s is 260<> w. am iman Rn., wao¥, mcmasz msch

(“Lend\‘,r` ’},

tveprincipal sum of wrime mousnno me nummzn mm No/loo**"~Mw*******n*n
in»'HH~M-*k+av¢¢¢+¢+~#w;+\u*h*~¢***-n»\r*€¢*i*+-k*hH¢x+¢*ai»*=vee*e*i¢**¢#is+krf}g!]ar§

{U.S. $30 , 400 . 00 ). 'l`his debt is evidenced by B:)rmwcr`s note of even date paraphed "N<:
Varielur" by me, Nntary, for identification hereth and delivered to I.cnder (“Nole’ ’). Thcz Note provides for

monthly pnymems, with !hc full debt. if not paid oatller, due and payable on
Ar-nn, 1 , 2029 . Tlu‘s Socurity lns\runmmsecures loLend¢r: (a) thc repayment ofthe clch

evidenced by lh¢ Notc, with inlcr¢si` and allurncys' fees, together with all rencwais, extensions and modificalions
of the Note; (b) me payment of all other sum$, witl\ intercsl, advanced under paragraph 7 to protect the somlrity
of \his Securily lnstrumem; and (c) the performance ufBorrmw:`s covenants and agwemenls under this Sccurily
lnsm\mem and lbo Note. For this pumose, Borxowerdoes hereby mortgn ge and hypollwcatc w Lenderthe following

described pmperry locaied ln JEFFERSQN Pan'sv, Louisiana'.

CONTINUED ON ATTACKED RIDER

Initials¢ /Z"I §
murSlAN).. single inmin .FNMA/Fm.m: umoxm msmmixm

soMmsR(LA) (961 n mm ama 1 ms Pngc 1 of 6 , mvmze!) 112

"‘ EleBlT B

99'17840

watt itt 5991
` which has the address of 2305 nosla, arizona
[su<~n, ctiy;
louisiana '10055 (“Propotty Adllress");
[ztrt enact

TOGETHER WITH all the improvements now or hereafter erected oil the pwpcfty, and all easemonls,
appunenunosa, and fixtures now or hereafter a part tamm pn:»pc:rt;¢1 All replacements end additions shall also be
coveredbythis Socun'tylnslmmonl. Allofthet‘nrogoingisret‘erredlo in this Socurttylnstrum¢ntasthc “Properiy_”

BORROWER COVENA NTS that Borrower is luwliilly solved ofthe estate hereby conveyed and has the right
to mortgage and hypothccale the Propcrty and hint the Proporty is unencumbered except for encumbrances of`
recotd.. Botrowcr tvarrantttand will defend generally\hellllelo tlloProporiyagainslali claimsartddemantls. subject
to atty encumbrances of roonrd.

’I'l~llS SECURITY lNS‘l`RUMENT combines unitormcovenants l"or national use and nonrunii'orrn covenants
with limited variations by jurisdiction to constitute a uniform security instrument covering real property

UN¥FORM OOVENANTS. Borrowcr and Lomicr oovcnant and nyse as follows:

1. Fnynrent oll’rincipal and lntercst; Propa_ymnur and Late Chnrges. Borrow¢rshnllpromptly paywhon
due the principal ofand interest nn the debt evidenced by the Nole and any prepayment and late charges due under
the Note.

2. florida tor Ttirol and lnsurance. Subjoct to applicable law or to a written waiver by london Borrower
shall pay to Lend¢r on the day monthly payments are due under the Note. until thc Noto la paid in full, a sum
(“Funds’ ') t`or: (a) yearly taxes and assessments which may attain priority overthis Sccurtry lnstmmc.m as a lien
on the Property', (b) yen rly leasehold payments or ground rents on the Propeny, i[any; {i;) yearly howard or property
insurltnoe premiums; td) yearly flood insurance premiums, if auy; (e) yearly mortgage insurance premiums, ifauy;
and (i`) any sums payable by Borrowor to Lehcicr, in accordance with the provisions ct paragraph 8, in lieu of tito
paym entof mortgage insurance prcmiums. 'I`hese items arccallcd ‘ ‘Escrow ltcms_` ’ Lcoderntay,ut any time, collect
and hold Funds iu an amount not to exceed tito maximum amount a londorl’or n federally related mortgage loan
may require for Borrowcr’s escrow account under the federal Real Esinlc Seltloxnent Prcotzdnros A¢l of 1974 as
amcodedfrom lime to tlmo, 12 U .S .C. Section2601 eisen (‘ ‘RBSPA‘ ’), unless anotherlnwtitatapplies to th¢Funds
sets a lessor amount lfso, l_.cr\rier moy, at any timc, collect and hold Funds in an amount not to exceed the lesser
amount. Lcndcr may estimate the amount oannds due on the basis of ctmont data and reasonable estimates of
expenditures affiliate Eserow ttems or otherwise in accordance with applicable law.

Tltc ands shall be held in art institution whose deposits arc insured by a federal agency, instrumentality, or
entity ('znclnrling Lcnder, ii Londer is such an institutioo) or in any Fedcml Home Loan Banl<. Lettder shall apply
the Funds totally the Escrow ltoma. Lender may not charges Borrower for hoidlngand applying the l"unds, annually
analyzing the escrow accounl, or verifying tire Escrow ltcsns, unless hinder pays Borrowor interest on this F'undrr
and applicable law permits Londcr to make such a chargo. llowovor, Lcnder may roqtriru Borrowor to pay a ono-
time charge for mt independent root estate tax repnningzsewlce used by Leodorin connection with thlsloltn, unless
applicable law provides otherwise. ‘Unless nn agreement is made or applicable law requires interest ta be pnid.
Lender shall notbo required to pay Borrowcr atty interest oroomings entire l~`unrls. Borrowcr and Ler”tder may agree
in writing. howevcr, that interest shall be paid on tito Furtds. louder shall give to Borzuwcr, without chnrgot art
annual accounting ofthe Funds, showing credits and debits tn the Fnr\ds and the purpose for which each debit to
thc Futtds was mario Titc Funds awplc<lgcd asaddltionnl socnrity forall sums secured by this Securitylnstrumonl.

little Funds held by Lendcr exceed the amounts permitted co bo held by applicable law, Lcnrler shall account
to Bonro\vcr for the excess thds itt accordance with the requirements otapplicablolaw, litho amount ortho ands
held by Lender at any lime is not sufficient to pay the Esorow items when dne, Lcnder moy so notify Borrowor in
writing, and, in such caseBorrnu/er shall pay to I.ender the am ou or necessary to make up the deficiency Borrowor
shall make tip thc deficiency in no more than twelve montle paymen\s, at l./cm:let‘s sole discretion

Upon payment in full otall sums scenrcdby this Seeurity lnstm ment,l..onder shall promptly rcilsrtd to Borcowcr
any linnds held by Lcndor. lf, under paragraph 21, Londor shall acquire or sell thc Property, Leruicr, prior to the
acquisition or sale oftheProperty, shall upplyany Fuuds held by bender at lite time of`aoqulsitlon or sale as a credit
against the sums secured by this Securlty instruman

3. Appllcntlon orPnyrm:nrg. Unloss applicants law provides othertvlne, ali payments received by I_ender
under paragraphs l and 2 sholibonpplicd: first, many propaymentoharges ducundcrttro Noto; secoud, to amounts
payable under paragraph 2; thing to interest due; tourtli, ta principal dne; and last, to any late charges due under
the l\loto. v

4. Char‘ges; Llens. Borrower shall pay all taxes, nssessments, chargea, fines and imposilimt$ attributath
to tlu; Propcrly which may attain priority over this SocuriLy lnxlrnmont, and leasehold payments or ground ronls,
il`any. l':lormwor shall pay these obligations in the manner provided itt palaglapll 2, Dl' if 1101 paid in that mann¢r,
Borrowcr shall pay thom on time directly totho porsonowctl payment Borroworsttali promptly furnish to Lenttet'
all notices ofnmounts to be paid under this paragmplt. lt’Borrowr-.r makes these payments directly, Bon'owcr shall
promptly furnish to Lender receipts evidencing the paylncnts.

Borrower shall promptly discharge any lien which has priorityovcr this Sccurity Instrument unless Borrower:
[a} agrees in writing to the payment ot' the obligation secured by the lion in a manner acceptable to Lender; (b)
contests in good faith the lion by,`or defends against enforcement of lite lion ln, legal proceedings which trt thc
Londor’s opinion operate to prevent tito enforcement of lite \lcn; or (c) secures from the holder of the lien an
agreement satisfactory to Lendor subordinating the lion to this Scourity Inslmmcnt, lt`Lender determines that any
part oftlie Propcrty is subject to n lien which may attain priority over this Secnrily Instr\m'ton£, Lende ma give

Inl.tials x §
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somn¢~tt(tn) (961 it noon am 11)96 huge 1 of 6 tAvr)t=:t:n

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LOAN l t 4991
Bnrrowor a notice identifying tile licn. Borrotver shall satisfy the lien or take one or marc of thc actions set forth
above within lt) days of the giving ofttotloe.

S. anard url’ropcrty Insurancc. Borro\vcrsltali keep the improvements now existing or horeafter erected
on the Property insured against loss by tiro, hazardsinchtdod within the term "exlonded coveragc" and any other
hazards, including floods or flooding, for which loader requires insurance 'i`his insurance shall bo maintained in
theamounts and for the periodsthathnderreqttlres. ’l'lto insurance carrierprovldlng the iosuutnoeshail beoltusen
by Borruwer subject toLcrttler's approval which shall notbe unreasonably withheld lt Borrower fails to maintain
ooveragcdcsoribed abovc, Lendcrmay,al Lender’s option, obtainouvorago toprotcctl_onder‘s rightsiuthe Property
in accordance with paragraph 7.

Alt insurance policies andronc\valsslutllboocceptttl)letol.eadcronnshall lnclndenslandar¢lmortgage clausen
Lender shall have the right to hold the policies and rcnewals. ]i' Londer rcquires, Borrowcr shall promptly give to
tender oil receipts ofpaid premiums and renewal noticed in the event of icss. Borrowcr shall give prompt notice
to the insurance carrier and Lendcr. Lcnder may make proof ol` loss limit tost promptly by Borro\wr.

Uniws ladder and Burrowcr otherwise agree in writirtg, insurance proceeds shallbe applied to restoration or
repair ol' the Property damagedl if the restoration or repair is economically thusi.blc and Le'ndcr’s security is not
lessened it t‘ho restoration or repair is not economically feasible or Lertder's security would be icss¢oed, lite
institution proceeds shall bc applied to the sums secuch by this Sccur'tty lnstruntcnt. whether or not then dne, with
atty excess paid to Borrowcr` trl':lozrowcr abandons tito Proporty, or does not onswcrwithlu 30 days a notice from
Lcudcr that the insurance carrier hon offered to Selll¢ a clalm, then bender may collect thc insurance prooccds.
Lendor may use thc proceeds to repair or restore thc Property or to pay sums secoredby this Sccurity lnstmnnont,
whether or not then duc, 'The 30~day period will begin when the noticc is given

Unlcss Lendor and Hort'owot' otherwise agree in writing any applit;tttiun ul" prwuods 10 principal shall not
oxiend or postpone lite doc date ofthc monthly payments referred to in paragraphs 1 and 2 or change thc amount
of ihs payments lt under paragraph 2l the Proporty is acquircrl by l.ondcr, Borrowcr’s right to any institution
policies,and proceeds resultingt`rom damage totthropcrtyprior tothuacquisitionsholl passto Lenrler tothe extent
oftho sums secured by this Sccurlty instrument immediately prior to the acquisition

6. GCcupnncy,Prevurvation, Molntortunccuntl Pmtcctlonolithmporty;llorrotvcr’sLoan Application;
l.caseholdi. Borrower shall occupy. establish and usctlto Ptupcrtyrts Bcrrowcr's principal rasidcncowtthirt sixty
days alter the execution of this Securlty lnstrument nnd shall continue to occupy thc Pmporty as Borrowcr‘s
principal residence for at least one year alterthodatcofot‘cnpaney,unlessLendor otherwiseagrecsinwrltlng, which
consent shalinotbc unreasonablywithheid,orunlesscxtonuatingcircumstanoos existwhiclt orebeyonrlBorrower’s
control Borrovrcr shall notdmtroy, damage or impair thc Property, allow the Propcrty to doicrlorsto, or commit
westcott the Property. narrower shall twin default it'any forfeiture action or proceedingl whether civil or criminal
isbcgun that inl..ct\der`s good llaithjudgment could result in iorioitureofthe Proportyor otherwise materially impair
the lien created by this Scr:urily instrument or l.onder’s security interest Bnrrower may cure such udcl`aull and
reinstatc, as provided in paragraph lB, by causing thc action or proceeding to be dismissed with a ruling that, in
Lender’s good faith doicrmlnarion, precludes forfeiture ofthe Borrowcr‘slnterest in the Propcrty orothcrmalcn'al
impairment of the lien created by this Socurity instrument or Lcndcr's security interest Borrowor shall.nlsol>o in
default if Botmtver, during thc loan application procous, gave materially false or inaccurate information or
statements to i..ender (or failed to provldo i.,cndcr with any material iniotmotlott} in connection with the loan
evidenced by tile Note, includlng, but not limited lo, representations concerning Borrowor`s occupancy ol’ the
Proporty us a principal t'esidcnr.o. lftlris Sconrity instrument is on a leasoholrl, Borrotvcr shall comply with oil tth
provisions cflltc loaso. ifHorrcwer acquires liab liilc to lltel’rtlperty, tile leasehold and the fee title shull not merge
unless Luudor agrncs to tito merger in writing

7. Proicction of lenders flights in the Proper'ry. li' Borrowcr fails to perform the covenants and
agreements contained in this Secttriry Instr\tmont. or there is a legal proceeding that may significantly alfcct
Lcnrler‘s rights in the Propcrty touch as a proceeding itt baokmptoy, probatc, lot condemnation or forfeiture orto
cni`orcc laws or rcgttiations), then Lender may du and pay for whatever is nocessory to protect the value of the
Prupcrtyntid Lcndor's rights lntlto Prop`crty. l.ondcr'srtctione may include paying nnysnmssocurcd bys licnwhich
has prlon`ty over this Soourity lnstrument, appearing in coun, paying reasonable attornoys‘ fees and entering on
inc i’roperty to make rcpalrs. Althoagh Lcndcr may take action under this paragraph 7, l.endcr does not have to
do so.

Atty amounts disbursed by Lender under this paragraph 7 shall become additional debt ofBorrowor secured
by thisSeotuitylushuxitent. Unio¢sBormn'cr and Leuderagrce to other terms ofpaymcnt, thcscemountsshall bear
loier¢st i`romthc date ofuisburscmcnt at the Noto rate and shall be pnyuble. \vtthinterest. upon notice from Lcmlor
to Borrower requesting payment

8. hlortgagc lmra ranco. ll Lender required mortgage insurance as rt condition oi` making thc loan secured
bythis Sectltltylnslrttment, Bnrrotvcrsl\allpaytltc premiums required tomaintain the mcrtgagt'.insuranccinctl`wt.
ll'_ for any reason, the mortgage insurance coverage required by lender lapses or ceases to bn in cflccl, Borro\vcr
shall pay the premiums required to obtain coverage substantially equivalent to the mortgage insurance previously
in citizen at a cost substantially equivalent to the cost to Borrowcr o€the mortgage insurance previously in cEeor,
from nn alternate mortgage insurer approved by ‘t.cndar. if substantially equivalent ntortgago institution coverage
is not available, Borroner shall pay to Lendr.r each month a sum equal to oncvtwcll'th of thc yearly mortgage
insurance premium bring paid by Bcrrowcr when titrl insurance coverage lapsed <)r waited to be in effect Londer
will accept usc and rotolo those payments as a loss reserve in lion ul mortgage insurance. Loss reserve payments
mayno iongerborcquircd, at the option oth:nclcr,il`mortgugoinsuro noe coverage (in theatnonnt and i'orthe period
that Lcnder rcqnirea) providedby an insurerapprovcd by bender again bocomosttvuilttblc and lscbtainc§. Bnrrower

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sottn.rn(t.nt (9&1 t) reno sole tires ' l’agc 3 of 6 t./tvntznn

99~1?840

'I‘HIS RIDER IS A'I.’TACHED TO AND MADE PRRT OF k HORTGAGE EXECUTED BY
HICH’AEL SHELLEY IN FAV(}R OF STANDARD FEDER?§L BANX, A FEDKRAL
SAVINGS BANK DATED MARCH lB, 1999

MICHAEL sHELLBY (A/I</A MICHAEI. estates sHELLEY) , A PERSDN QF
THE FULL AGE OF‘ M.A\J'QRITY, RESIDENT 0? THH PARISH OF JEFFERSON,
mm nachman UNTO me NOTARY, mr ne mae mem mn;cm) BUT
once/mm THB_N 'ro umwa moves simman mm mont ma rs FRESENTLY
mcvae mm REs;cDING, AND FUR'J:HER sums mrs soo am are
sEPARATE mm PARAPHERNAL PRoPERTY. mem const sHELLEY rs
APPBAR::NG 'ro nemch m mozeesz- sHE mw mae m sun
PR<JPERTY.

HIS SS# “~2241

MAILING ADDRESS: 2808 ROEB, Gretn£l, LA '70056

THAT CERTAIN PIEC‘E OR PORTION OF GROUND, together with all the
buildings and improvements thereon end all of the rights, waye,
privilegee, servitudes, advantages and appurtenances thereunto
belonging cr in anywise appertaining, situated in the Parieh of
Jefferson, State of Louieiana, Gretna, in RGSE PARK ADDITION.
Aeeording to survey of Hotard and Webb, C.E. dated.Auguet 28, 1953,
seid.portion of ground is designated end measures as followe:

LOT 16. SQUARE "G“, bounded by'Gretna.Boulevard, Claire Avenue, 27“
Street and Roee Drive. According to eurvey of Hotard a webb, C.E.,
dated April 15, 1954, said lot 16 commences 157.34 feet from the
corner of Gretna Boulevard and Roee Drive, and measures thence 50
feet front on Roee Drive¢ Same width in the rear, by a depth of 96
feet between equal and parallel lines.

lmprovements thereon bear the Municipal Number 2808 Roee, Gretna,
LA 70055

AND NOW ‘I‘O THESE PRESENTB PERSONALLY COMES AND INTERVENES! DIGNA
DODGE SHEL&EY, wife of the purchaser herein, who declared that she
takes full cognizance of this act of eale, and who further declared
and acknowledged that her said husband, MICHAEb SHELLEY, purchaser
herein, le acquiring the above described property, taking title as
his own eeparate and paraphernal property under his administration
and Control, ueing his own funds for all monies paid or to be paid.
No part of the above deecribed property forms the community of
acquete and gains existing between. them, the same being the
separate end paraphernal property of MICHAEL SHELLEY, purchaser
herein.

For greater security to the lender herein, intervenor declared that
eha further signed this mortgage for the purpose of and doee hereby
mortgage in favor of the holder of the note secured hereby any and
all interest that she may have in and to the herein described

DIGNA DODGE BHELLEY UL\

.. 99~17846

LonN =t l 4991
shall pay the premiums required to maintain mortgage insurance in citrot, or to urovido o loss resorvc, until tito
requirement for mortgage insurance ends in accordance with any written ztgroentot\tbmwoen Borroweranrt lender
or applicable inw.

9. inspection Loudor or its agent runyrrtnl<o reasonable entriesuponnndinspectionsot`ttro Proporty. Lenclor
shall give Borrowcr notion at tito time of or prior to on inspection specifying reasonable cause t'or tito inspection

Itt. Contten\nnttcnr. Tlte proceeds ofany award orclatm for danmges, direct or eonaequeotial, itt connection
with any condemnation or other taking ofetry panel the Property, orfcn' conveyance in lieu ofcondetrtnation¢ ore
hereby assigned and shall be paid to Lontlor.

Irt lite event ofo total taking ofllw Property, lite proceeds shall bo applied to the sums secured by this Seourtty
instrument,wlrctitcrornotthen due, with onyoxocss paidlo`Born)wcr. in theevent ufnpartial taking ortho Property
in which tito fair market value ol` the Proporty immediately below tito la king is equal toor greater than tito amount
ot the sums secured by this Socurity lnstrurnent immediately before the taking, unless Borrowor and Lcrttle.r
otherwise agreo in writingx lite sums secured by this Soourity instrument shall bn reduced by tire amount of the
proceeds multiplied by the following window tnt thermal amount at the sums accrued immediately before tile
talkingl divided by (b) the i~`alr morkot value oftlto Prnporty immediately before the mking\ Any balance shall be
paid to Borrower. in tire event of n partial taking of tire Propony in witicit lite fair market value of lho Propeny
immediately before the taking is less than the amount of lite sums secured humiliateiy before the toldng, unless
Borrowtrr and Lender otherwise agree in writing or unless applicable law otherwise providcs, tire yrooe¢cls shall
bo applied to tito sums secured by this $ecttrity lnsirument whether or not tlte sums are then duc.

lftltcx Propcrty is abandoned by Bom')wor, or if, after nntiocl)y Lcnder to Borrowcr that the condemnor oilers
to make an award or settle a claim for damagos, Borrower fails to respond to Lcttder within 30 days altertlw date
thonnticoisgivcn, Lender is authorized to collect nnd apply tlt.eproceods, atltsoptlon,oitltorto restoration or repair
of the Property or write sums secured by this Security tnstrument, whether or not then due.

l]nless Lettder and Borrowor otherwise agree itt writing, any appiiorllion ofpromds to principal shall not
extend or postpone the due date of lite monthly payments micrch lo in paragraphs t and 2 or change the amount
ot` such poymonts,

tl. Bomnvcr Nol Rotoasod; Forbonrance By londorl~lot a Walvcr. Extonsion oftbo time for payment or
modification of amortization of tile sums secured try this Seourity instrument granted by Lender to any successor
in interest oi`Borrowo: shall not operate to release the liability ortho original Bormwer or Borrower‘e successors
in interest l.ortder shall nutbo required le commence proowdlngs against atty successor in interest or refuse to
extend timol‘orpayment or othcnvisnmodtfy amortization ol`tln:sumssocurodbythis$ecurtqr lnstrurnentby reason
of any demand made by the original Borrowor or Borrower’s successors in ltttercst. duty l’orb community bender in
exercising any right or rez'r\orl_;l shall not be n waiver of or preclude the exercise of any right or remedy.

12. Sttccosrors nndAsstgns Bu\tnti; Jolrtt and chorltl Llabilityt Co-oigrters. 'l`hocovertants and agreements
of this Sor:urity instrument shall bind oncl benefit the successors and assigns of Lende: and Botrow¢r, sobjooi to
the provisions nfpamgraptr t’lr Borrower’s covenants and agreements shall bcjoirtt and several Any Borrower
who oo-slgnstltis Setntrtty lnstmntetttbut does notoxccttto tltoNote: (n) is oo*signing this Seouritylnstrumentonty
lo mortgage, grant and convey that Berrower‘ s interestin tire Prope rty under lite terms oftltin Socurity instrument
(b) is not personally obligated to pay the sums secured by this Sot;urity lnrtrttment; and (c] agrees thotl,ender and
any other Borrowt:r may agree to extend modiiy, forbear or make any accommodations with regard to tile terms
oftltis Secu'rlty instrument ortlte Note without that Borrowcr’s consent

13, Loan Clrarges. little tottr\ secured by this Securlry instrument is subject to a law which sets rnax'uru.nn
loanchzttges, and llth law is finally interpreted so that the interest or other loan charges collected or to be collected
in connection with the loan exceed tito permitted limits, then: [a} any soon loan charge shall be reduced by lite
amount necessary to reduce the charge to the permitted limit; and {lt) any sums already collected from Borrower
which exceeded permitted limits will be refunded to Borrotver. lender may choose lo looks this refund by reducing
tire principal owed under tire Note or by making n direct payment to Borrower. Il`a refund minutes principal tito
reduction will bo treated as a partial prepayment without any prepayment charge under the anc.

t-t. l\luticer. Any notice to Borrower provided for itt this Securlty instrument shall be given by dollvorirtgit
orby mailing it byiirst classmnil unless applicable low requires us¢of another method Tltenotice sitan bedlrcctod
to the Froperty Addross or any other address Borrowcr designates by notice to Lendor. Any notice to Lerule.r shall
lie givon by first class mail to Lettder’s address stated herein or any other address lender designates by notion to
Borro\ver. Any notice provided for in this Scourt':y instrument shall be deemed to have been given to Borrorwor or
Lcrtcler when given ns provided itt this paragrnptt.

15. Gnvernlng Law; Soveuthlllty. 'l’his Seonrity Insmrrneut shall tie governed by federal iawanti the lawof
tlrojorisdiction inwlticlt titcProponyis loeatod. in tire event iiutt any provision orolm)ss ot' this Socurity instrument
or tito Nulc conflicts with applicable law. such conflict shall not nlreot other provisions oftttis Socorlty tnstrurnoot
or the Noie which con be given eti`w without tirecontlictlng provisionl 'l`othls end the ptot'tslortsoltltis Socurity
instrument and tire Note are doolarod to be severablev

to. Borrowcr‘s Copy. Borrowcr shall be given one conformed copy olttae Noto and of this Seourlry Ir\stmmont.

17. Tranafer of tim Praperty or a Bottoiiciul interest in Bnrrower. li`ali or any pari ofthe Property or any
interest in it is sold or ttanstorrod (ot' ila boncllcial interest itt Borrowor ls sold or transferred and Bormwor is not
rt natural person) without Leudr,r’s prior written consent, Leutior may, trt its option, require immediate payment
itt full of all sums secured by this Security instrument Hmvcver, this option shall not be exercised by trench if
exercise is prohibited by federal law or of lite date of' this Secur'tt§/ instrument

if Lender exercises this option. bender shall give Borrower notice ol`aoceieratlon. 'I'ltc notice shall provide a
period of uotiess than 30 days from the date the notice is delivered or mallot:lwt`thirt winch Borrower r ust pa all

I t!i tials x __M__
Lotttsr,xtt,t» single remtty rum/tuttan ut~ut-otttt rusr~ttumez~zr
SOMI)-stt<t.nt(sott) munson russ Page 4 of 6 t.,tvt)tt£l?

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sums securcdlry this Seoun'ty instrument It“Borrower falls to pay these sums prior to the expiration ofthisportoti,
`lé:rtcler may invoke any remedies permitted by this Secttrily I.oszrurncnt without Furlhot' notice or demand on

rrowcr.

IB. Borrower's nght to Reinlttt\te. ll`Bot:owor moots certain conditions, Borrowcr shall have the right to
have enforcement of this Seoutity lnstnmlcnt discontinued at any time prior tuttle earlier of: [a) 5 days (or such
other period as applicable law may specify for reinstatement} before sale of the Property pursuant to any power of
sale contained in this Sccttrlty instrument or (b} entry of n judgment enforcing this Securit)' instrument 'I`hose
wndillonn are that Borrowcr: {a) pays Lender nll sums which then would be dtu: under this Sccurity ln$lrument
and lite Nnte as li'no acceleration had oocnrtvtl; (l:) sums aug/default of’nny other covenants or agrocmottts; (c) pays
ailcxncnserinourml tnont‘orcingthts Soourityiostrumeni, includingl tunnel timiteotn, reasonnl;tcattomeys’ fros;
and (n) takes such aution,ur Lenttor may reasonably require to assure that the lien of this Soctu~ity instrument
Lcndor's rights itt the Proporly and Borrowcr’s obligation lo pay lite sums secured by this Sooorltylnstmmcutshult
oontinueunoiionged, Upon reinstmt:n\entl)y Borrower, this Soourity instmmentandtho obligationssocurcd hereby
shall remain fully effective ns lino accoleration had occurred Howovcr, this right to reinstate shall not apply lo
the case of acceleration under paragraph 17.

19. Sn|e of Note; Chtmgc of form Servicer. Tlre Notc or a partial interest in the Nole (togetl\er with this
Secnritylnstrument) mayb¢sotci uncut-more times without prior notice to Borrower. A sale may result in a change
in the entity (lmown as tltc “Lotm Sert'icer‘ `) that collects monthly paymentsduo under thoNote and this Security
instrument There also may be one or more changosoiihe Loan Serviccr unrelated to it sole of the Note, il` there
la a cba nga oftheLoart Sorviccr, Botrower wiill)c given written notice ufll)c cha nga inacoordanco with paragraph
l 4 above and applicable taw. The notice will statorhe name and address of the new Loan Scrvicor and the address
to which payments should be made. Tlte notice wltl also contain any other information required by applicable law.

20. Huzorttous Suhsiuncoat Borrowerstuallnotcouseotpermittitopre.rcoco, use,dlsposal, storagex orreioaso
of any Hazardous b`ubslanm on or iu the Ftoperty. Bon'ower shall not dn, nor allow anyone else to do, anything
ail'ectin g the Pmporty that `ts in violation ofany lim/ironrnonlal Law. 'I'htz preceding two sentences shall not apply
to the presenc¢, usc, or storage on lite Propeny of small quantities of i-iazardous Substances that are generally
recognized to he appropriate to normal residential uses and to malttt¢nonm oltl)e Property.

Borrower shall promptly glveLcnder written notice ol‘ any investigation claim, denmtld, lawsuit mother notion
by any governmental or regulatory agency or private party involving thc Property and any Halurtious Substance
or Envt!onmontal l_.aw of which Bortower has actual knowledge if Burr<)wer leatns, or is notified by any
governmental orregolatory authorityt thatanyr¢moval or olhorremediation ofany Hazarclous Sulzstnn<:o affecting
the Property is necessary, Borrov.er shall promptly luke all necessary remedial actions in accordance with
Envit'onmenlal La\u.

As used in this paragraph 20, “lttlzardous Subsionccs" two those substances tlcllned as toxic or hazardous
nubstatt¢es by Envi romnontal Law and the following subsianoe:.‘: gasoline korosono, outer 't`turruuublc or toxic
petroleum protlttots, toxic pesticides andhorblcidoz, volatilcsolvents, materials contamingaabostosorfommldehydo,
and radioactive materials. As used in thin paragraph 20, "l?.nvironmettlal Law" means federal lowe and laws of
the jurisdiction where the Froporty is located lth relate in hoatth, safely or environmental proccciion,.

NON-UNIFORM COVENANTS. Born)wor and Lender further covenant and agree as follows:

11. Acccieration; Rometlies. bender shall give notice to Borrou~cr prior to acceleration following
Borrowor’s breach of any covenant or agrtcmont in this Snt:ut'ity lnsiruntcot {turt riot prior to acceleration
under paragraph 17 unless applicable law provich u!ltcmisel. ’t'hc notice limit specify tai the dct'ault; tii)
the action required to cure the default; (c) a dntc, notices than 30 days from the date the notice is given to
Borrower, by tvttleh rko default must be curctl; tmtt (d) that failure to cure the default on mt before the date
specified in the notice tony result in acceleration of tim sums secured by this Socurlty Inzrtmruent and sale
oftlrcl’roperty4 The notice shall further inform Borrower of the right to reinstate afteraecclcmtlon and the
right to assert in the torochuure proceeding tire non-existence of a default or any other defense of Borrower
to accelenttlon and foreclosure tfthedcfauit ir not cured on or betorerhedaicspcoitlcdin the notice,Lcndcr,
at its option, may require immediate payment in fulloi' ali sums secured by this Sccurity instrument without
fu other demand for payment as provided for in Artl¢ie 2639 of the Loulsinnrt Cotie nfCivti Pmcedu re which
is hereby specifically waived nmi may cause the Pmperty to be seized and sold under either ordinary or
executory procesa, with or without upprttiscment, to the highest bidder far cash. narrower hamby confesses
judgment in favor of bender and any future holder ortho Notc in the full amount omit sum occurred by this
Securlty Inrnntmout, including but not limited to, attorneys fees of 251 office sums due under
the Note, but not lessihan ¥J.S. _______$_S_QQJ_QQ____________`.

22. Can_celtatlon. Upon payment of all sums secured by this Socutity Instntment, Lender shall deliver to
Bon‘owet‘ the original Note for submission lo the Ciurlt ol" Coutl for the purpose ol` cancelling this S\zcurily
instrument Borm\vcr shall pay the cancellation costs.

23. Walvcr of Homestead. Borrowor and Borrowcr‘s spouse tf:tny, walveall ¢luim:s and lights of homestead
oxempliun in the Propony_ _

24. Sovlngs and Lotm Arrociations. lt`Lcnder is a savings and lorin association the Noto and other sums
seaworthy this Sccurity Instrumcnt entail also huvotttchenet‘rts ofali the provisionsooumtnedtn Lonlslarut Revisetl
Slatulos, Titlt> 6, Secilon 830.

25, Futu re Atlv'.tncus. Lcndcr unly, but shall not be required lo, motto advances to protect thc security of this
Socurtty instrument pursuant to paragraph 7. At no time shall the principal amount ot” the indebtedness secured
bylhis Scourity instrument including advances pursuant to pomgraplt’l, exceed one hundred lilly percent (350%)
ot the ortginal amount of the t'ndebtodrtess set forth in the Note.

mutual }"l §
Lotust,trot~ singh purity .rrnnr,t/Ftttmct)r~‘lwltsi tht'tznntF.N'r

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26, Addittcmttl Pt‘ovizltm Regt\ rdirtg Transfer tit the l"ruperfy or a Beneficial fntorest in Burrtrwer, For

purposes cf paragraph 17, the phrase “soid cr transform ” shall also includ¢. but net be limited to, the making

ofa!t or amy part of the Pmpmy or any interest in it the subject ofrt bond for decd, contract for docd, installment

sales contract cscrow agreement or similar arrangement the intent otwttictr is the transfer ot` ti tte by Borrower at
n future date to a third-patty purchaset.

27, Latc C!tttrge. Borrowcr shall pay to mmch n late charge of 5 tow percent ot‘ any montttiy
installment of principal and interest as provided in the Note not received by bender within 1 5 days
after s`uch installment is duc.

28. Mtn'itnl Status, 'l`hs marital status of Bortower is: $EE AT'£ACHF.D [tIDER

 

29. Riderstnthis Security Instrument. Ifoneormere ridersareexecutnd banrmwerand recorded together
with this Secvrity Instrnment, thecovcnants and agreements of`each such rider shall beincorporateri into and shall
amend and supptnmcmt the covenants and agreements oftlris Sectxrity Instmment as if the ridcr(s) were apart cf
this Secuzity tnstrnrnent.

[Chc:ck appt tcable bnx(es)t

L_.] Adjtt$tablt'- Rzlt€ Rjdcr i_:l Com:tominiumkidcr |:} t~4 Famity Ri.ctar

I:J Graduatcd Pnymcnt Ridcr l::l Ptanncd Unit Dcvetopment thcr |1:] Biwcckly Payment Ridet‘

|:J Battonn ttidcr [:] katz improvement Ridnr ij Sccond Hnrnc Ridcr

E:| VA Rr'ttcr tKX] other(s) lspe¢iry] LSGAL DEscnl?Trott/Mnnlmt. s'rn‘rus nIDER

BY S!GN!NG BBLOW, Borrower accepts and agrees to the terms and covenants contained in this Sccurity
instrument and in any rider(s) executed try Borrt)wet and recorded with it, Borrower, each \vitness, Lent.tcr and I,
Notaty, have signed this S¢curtty tnamtmem for the purposes stated after a complctn reading

'I`HUS DONE. READ AND PA.SSED tit my office in MET:\IRIE
Loulsiana, on MARCH 18 , 1999 inthc prcsenccofthetwo undersignedcnmpetcntwttnesses
who have herennto signed their names together with satd appeath and me, Nntary, for the purposes stated after
a comptch reading

 

tt,M/§-M

HICH}\EL BH}§LLEY

 

L¢I\d¢l'l STBHDARD ¥‘EDERAL BANK, A FBDERAL

SAVINB`S BAHK /‘;2

  

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' JEFFERSON Pariait, Louixia.ntr
~ sTEI.LA vt GHARLES
By:
mm Amm'r, owen LAuxtt;m'

 

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sontt)»éktt.tx) tsal 13 norm acts 11)96 Pngc 6 of 6 trAvt)t".t~:t)

